Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 1 of 53 Page ID #:1



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        ANTONIO K. KIZZIE, ESQ. (SBN 279719)
    3
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        444 S. Flower Street, Suite 1800
    6   Los Angeles, California 90071
    7   Telephone: (213) 489-0028
        Facsimile: (213) 489-0552
    8
    9 Attorneys for Defendants,
        COUNTY OF LOS ANGELES AND SHERIFF ALEX VILLANUEVA
   10
   11                      UNITED STATES DISTRICT COURT
   12                    CENTRAL DISTRICT OF CALIFORNIA
   13
   14 DONNA LOUISE WILLIAMS,                      CASE NO.:
      individually and as Successor-in-Interest
   15
      to THE ESTATE OF FRED WILLIAMS              LASC Case No.: 21STCV10906
   16 III; THE ESTATE OF FRED
   17 WILLIAMS III, and, FRED WILLIAMS            NOTICE OF REMOVAL OF
      JR., an individual,                         ACTION UNDER 28 U.S.C.
   18                                             §§1441(a) AND 1446(a); AND
   19                    Plaintiff,               DECLARATION OF ANTONIO K.
                                                  KIZZIE
   20   vs.
   21
   22
        COUNTY OF LOS ANGELES, a                  Complaint Filed:
   23   municipal entity; LOS ANGELES             March 22, 2021
   24   COUNTY SHERIFF’S DEPARTMENT,
        a municipal entity, SHERIFF ALEX          Complaint Served:
   25   VILLANUEVA, in his individual and         March 24, 2021
   26   official capacities, and DOES 1-50,
        inclusive,
   27
   28                    Defendants.

                                            -1-
                          NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.
                                      §§1441(A) AND 146(A)
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 2 of 53 Page ID #:2



    1           TO THE CLERK OF THE ABOVE-ENTITLED COURT:
    2           PLEASE TAKE NOTICE that Defendant COUNTY OF LOS ANGELES,
    3
        a municipal entity; LOS ANGELES COUNTY SHERIFF’S DEPARTMENT, a
    4
        municipal entity, SHERIFF ALEX VILLANUEVA, in his individual and official
    5
        capacities, and DOES 1-50, inclusive, (“Defendants”) hereby remove this action
    6
        from the Superior Court for the State of California, County of Los Angeles to the
    7
        United States District Court for the Central District of California. The removal is
    8
        made pursuant to 28 U.S.C. §§ 1441 (a), 1446(a), on the facts set forth below:
    9
   10           1.   The DEFENDATS are named as defendants in this civil action filed in
   11 the Superior Court of the State of California; County of Los Angeles entitled
   12 DONNA LOUISE WILLIAMS, individually and as Successor-in-Interest to THE
   13 ESTATE OF FRED WILLIAMS III; THE ESTATE OF FRED WILLIAMS III, and,
   14 FRED WILLIAMS JR., an individual, v. COUNTY OF LOS ANGELES, a municipal
   15 entity; LOS ANGELES COUNTY SHERIFF’S DEPARTMENT, a municipal entity,
   16 SHERIFF ALEX VILLANUEVA, in his individual and official capacities, and DOES
   17 1-50, inclusive,, Superior Court Case No. 21STCV10906.
   18
                2.   Plaintiffs DONNA LOUISE WILLIAMS, individually and as

   19
        Successor-in-Interest to THE ESTATE OF FRED WILLIAMS III; THE ESTATE

   20
        OF FRED WILLIAMS III, and, FRED WILLIAMS JR., an individual (“Plaintiffs”)

   21
        filed this Complaint for Damages on March 22, 2021. A true and correct copy of

   22
        Plaintiff’s Complaint for Damages, is attached as Exhibit 1.
                3.   Defendant COUNTY OF LOS ANGELES was served on March 24,
   23
        2021.
   24
                4.   Defendant SHERIFF ALEXANDER VILLANUEVA was served on
   25
        March 24, 2021.
   26
                5.   This action meets the original jurisdiction requirements of 28 U.S.C. §
   27
        1441(a) and is removable by Defendants pursuant to 28 U.S.C. § 1446(a). A case is
   28
        removable from state to federal court if the action could have been originally
                                               -2-
                            NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.
                                        §§1441(A) AND 146(A)
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 3 of 53 Page ID #:3



    1
        commenced in federal court. 28 U.S.C. § 1441(a); Grubbs v. General Electric Credit
    2
        Union Corp., 405 US 699, 702 (1972). The propriety of removal is determined at the
    3
        time the petition for removal is filed by the reference to Plaintiff’s Complaint filed
    4
        in state court. La Chemise Lacoste v. Alligator Co., 506 F.2d 339, 343-44 (3d Cir.
    5
        1974). When the Complaint states a claim invoking the original jurisdiction of the
    6
        federal court, the action is removable. Id. Under the Judicial Code, federal district
    7
        courts have original jurisdiction in the district courts over all actions brought under
    8
        42 U.S.C. §1343(a)(3). Moreover, the Code confers original jurisdiction in the
    9
        district courts over all actions involving federal questions. See 28 U.S.C. § 1331.
   10
              6.     The gravamen of this action is the federal civil rights claims set forth in
   11
        the seventh cause of action of Plaintiff’s Complaint.
   12
              7.     State claims are also asserted in the first, second, third, fourth, fifth, and
   13
        sixth causes of action of Plaintiff’s Complaint. When an action originally filed in
   14
        state court is removed to federal court, the federal tribunal has jurisdiction to
   15
        determine not only the federal claims but all pendent state claims which derive “from
   16
        a common nucleus of operative fact.” United Mine Workers v. Gibbs, 383 U.S. 715,
   17   725, 86 S. Ct. 1130, 16 L.Ed. 2d 218 (1996).
   18         8.     All of the defendants who have been served consent to the removal of
   19   this matter. (See Declaration of Antonio K. Kizzie). Accordingly, there is no other
   20   defendant(s) who needs to consent in order for this case to be removed at this time.
   21   28 U.S.C. Code §1446(b)(2)(A)
   22         9.     The Notice of Removal is filed with this Court within 30 days after
   23   Defendant County of Los Angeles was served with Complaint on March 24, 2021.
   24         10.    The Notice of Removal is being filed in this Court and in the Superior
   25   Court of the State of California, County of Los Angeles.
   26   ///
   27   ///
   28   ///

                                                 -3-
                             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.
                                         §§1441(A) AND 146(A)
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 4 of 53 Page ID #:4



    1         WHEREFORE, the above-entitled action, now pending in the Superior Court
    2   of the State of California, County of Los Angeles, is removed to the United States
    3
        District Court for the Central District of California.
    4
    5
        Dated: April 8, 2021                    IVIE McNEILL WYATT
    6                                           PURCELL & DIGGS, APLC
    7
                                         By: ____/s/ Antonio K. Kizzie_____
    8                                          Rickey Ivie
    9                                          Antonio K. Kizzie
                                               Attorneys for Defendants,
   10
                                               COUNTY OF LOS ANGELES, et al.
   11
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                                                 -4-
                             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.
                                         §§1441(A) AND 146(A)
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 5 of 53 Page ID #:5



    1                     DECLARATION OF ANTONIO K. KIZZIE
    2         I, ANTONIO K. KIZZIE, declares as follows:
    3
              1.     I am an attorney at law duly licensed and admitted to practice before all
    4
        courts of the State of California, in the United States District Court for the Central,
    5
        Northern, Eastern and Southern Districts of California, United States District Court
    6
        of Colorado, the District of Columbia Court of Appeals, the United States District
    7
        Court for the District of Columbia, and the United States Supreme Court. I am a
    8
        senior associate in the Law Firm of Ivie McNeill Wyatt Purcell & Diggs, APLC
    9
        counsel for Defendant County of Los Angeles and Sheriff Alexander Villanueva in
   10
        the within action. The statements contained in this declaration are made of my
   11
        personal knowledge except as to those statements expressly stated to be made under
   12
   13 information and belief.       If called to testify as a witness, I could and would

   14 competently testify to the facts set forth herein below.
   15         2.     Attached hereto as Exhibit 1, is a true and correct copy of Plaintiff’s
   16 Complaint and the Summons served on the County of Los Angeles on or about
   17 March 24, 2021. Sheriff Alexander Villanueva was also served on or about March
   18 24, 2021.
   19
              3.     All of the Defendants, who have been served, consent to the removal of
   20
        this matter. Accordingly, there are no other Defendants who need to consent in order
   21
        for this case to be removed at this time.
   22
              4.     The Notice of Removal is filed with this Court within 30 days after
   23
        Defendants COUNTY OF LOS ANGELES and Sheriff Alex Villanueva were served
   24
        with the Complaint on or about March 24, 2021.
   25
              5.     The Notice of Removal is being filed in this Court and in the Superior
   26
        Court of the State of California, County of Los Angeles.
   27
        ///
   28
        ///
                                                -5-
                             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.
                                         §§1441(A) AND 146(A)
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 6 of 53 Page ID #:6



    1
              6.     I declare under penalty of perjury to the laws of the United States of
    2
        America that the foregoing is true and correct.
    3
              Executed on this 8th day of April, 2021 at Los Angeles, California.
    4
                                       /s/ Antonio K. Kizzie
    5                              Antonio K. Kizzie, Declarant
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                                               -6-
                            NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.
                                        §§1441(A) AND 146(A)
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 7 of 53 Page ID #:7




         EXHIBIT 1
                 Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 8 of 53 Page ID #:8
Electronically FILED by Superior Court of California, County of Los Angeles on 03/22/2021 12:25 PM Sherri R. Carter, Executive Officer/Clerk of Court, by D. Ramos,Deputy Clerk
                                                                                       21STCV10906



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                                                                                                                                                                                                  .~L}I.~V~\.J

                                                     SUMMONS                              ~V ~ hy,   ~ ~'~ ~'~S ~'~~~'~~~~                               Foacou~~iakJ~lity~ U~'1~-~' ~•~:GELES
                                                                                                                                                     (SOLO PARR USOOELA CORT~ i i E            ~ ~• ~~i
                                                 (C/TAC/ON JUDICIAL)                                   ' ' ~ ~~
                                                                                                                                                                                      -, ~~
             NOTICE TO DEFENDANT•                                     ~C`~ ' ~',°~` `~ ~ ~ ~' ~   t~ ~                                                            ~II~~~;_~'„~~~'~ ~' ~ ~' ~
                                                                                                                                                                                           ~ i
             (AVISO AL DEMANDADO):                                                         ~~~
             COUNTY OF LOS ANGELES, a municipal entity, et al. (Additional Parties form is attached)                                                                                      .~
             YOU ARE BEING SUED BY PLAINTIFF:
             (LO EST/ DEMANDANDO EL E ANDAN E S~«~ssor~, ~~ms-F
           DOAl~a  C~+~i~E wz~.iAMS.:~~~;~Neuy e~~~s
                                                                                                               .~ ~,e Es~a~ a
            Fed ~✓f~~r~~rt I~.e~• g1 CAdd;-~ibrl~r! far-~;i5~~, ifa~a~~2~~
              NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
              below.
                 You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
              served on the plaintiff. A letter or phone call wilt not protect you. Your written response must be in proper legal form if you want the court to hear your
              case. There may be a court form that you can use for your response. You can find these court forms and more information at the Califomla Courts
              Online Self-Help Center (www.courtin(o.ca.gov/sellhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
              court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
              be taken without further warning from the court.
                 There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
              referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
              these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self•Help Center
              (www.courtinfo.ca.gov/seUl~elp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
              costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
               jAV/S0! Lo han demandado. Si no responde dentro de 30 dias, /a come puede decidiren su contra sin escucharsu version. Lea /a informacibn a
              crontinuacibn.
                 Irene 30 DIAS DE CALENDARlO despu~s de que le entreguen esfa citacidn y papeles legates pare presenter una respuesta por escn[o en esta
              cone y pacer que se entregue una copia al demandante. Una caria o una llamada telefbnica no to protegen. Su respuesta por escrifo tiene que ester
              en formato legal correcto si desea que procesen su caso en /a torte. Es posible que haya un formulario que usted pueda user pare su respuesfa.
              Puede encontrar estos formularios de la torte y mSs information en e! Centro de Ayuda de !as Cortes de California (www.sucorte.ca.govJ, en la
              biblioteca de !eyes de su condado o en la cote que le quede mks cerca. Si no puede pager la cuota de presentation, pida a/ secretario de la torte que
              !e d~ un formulario de exencibn de pago de cuotas. Si no presents su respuesta a tiempo, puede perderel caso porincumplimiento yfa torte le podr~
              quifar su sueldo, dinero y bienes sin mks advertencia.
                 Hay otros requisitos legates. Es recomendable que !lame a un a6ogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
              remisibn a abogados. SI no puede pager a un abogado, es posible que cumpla con los requisifos pare obfener servicios legates gratuilos de un
              programs de servicios legates sin fines de lucro. Puede enconfrar esfos grupos sin Vines de lucro en el sitio web de California Legal Services,
              (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Corles de California, (www.suco~te.ca.gov) o ponlBndose en contacto con la torte o e1
              colegio de abogados lots/es. AVfSO: Porley, la torte fiene derecho a reclamarlas cuotas y fos cosfos exentos por imponer un gravamen sobre
              cualquier recuperaci6n de $10,000 b mSs de valorrecibida mediante un acuerdo o una concesibn de arbitraje en un caso de derecho civil Tiene que
              pager el gravamen de la torte antes de que /a torte pueda desechar el caso.
             The name and address of the court is:                                                                                CASE NUMBER: (Numero del Caso):
             (El Hombre y direction de la torte es):                                                                            ~ 21STCV10906
             Stanley Mosk Courthouse, 191 North Hiil Street, Los Angeles, CA 90012

             The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (Et Hombre, la direction y el numero
             de tel~fono de! abogado de! demandanfe, o del demandante que no tiene abogado, es).
             Brian D. Witzer, The Law Offices of Brian D. Witzer, Inc., 2393 Venus Dr., Los Angeles, CA 90046: Tel: (310) 777-5999
                                                                                                                            Sherri R. CaNer Executive Oh'icer/Clerk of Court      Deputy
             DATE:                                                                         Clerk, b
             (Fecha) ~~t ~~f~ ~I ~~                                                                y
                                                                                           (Secretario)                                     D. R~rr~as                           (AdjunfoJ
              (Forproof of service of this summons, use Proof of Service of Summons    (form P05-01O).)
              (Para prueba de enfrega de esfa cifati6n use el formulario Proof of Service of Summons, (POS-010)).
                                                     NOTICE TO THE PERSON SERVED: You are served
               ~sea~~
                                                     1. 0 as an individual defendant.
                                                     2. 0 as the person sued under the fictitious name of (specify):                                                                         /~

                                                     3. ~on behalf of (specify):               ~G17i/~~ ~~                              ~~n d- -            ~ ~" ~~„~`, 1~'
                                                           under• D                       C P
                                                                           CCP 416 10 cor oration        )    ~"~                   D      CCP 416.60 (minor)
                                                                    0 CCP 416.20 (defunct corporation)        ~ CCP 416.70 (conservatee)
                                                                    0 CCP 416.40 (association or partnership) ~ CCP 416.90 (authorized person)
                                                                   other (specify): ~GP `//b.~ Q.sJ,~;~—
                                                     i~ [~. by personal delivery on (date): ~.,~~~
                                                                                                                                              ~.nh~/                                   Page 1
             Farm Pdopted for Mandatory Use
             Judicial Coundl of California
                                                                                        SUMMONS ~                 `         ~                           CAde Of CNiI Procedure §§ 412.20, 465
                                                                                                                                                                           www.cour}s.ce.gov
             SUM-100 ~Ray. July 1, 2009]

             For your protection and privacy, please press the Clear
             rnis Form button after you nave Printed the form.                     Pint this"form ~          Save this form
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 9 of 53 Page ID #:9




                                                                                                                             SUM-200 A
 SHORT TITLE:                                                                                 case NUMeeR:
 Williams, et al. v. County of Los Angeles, et al.


                                                        INSTRUCTIONS FOR USE
~ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
-~ if this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
  Attachment form is attached."
Llst additional parties (Check only one box. Use a separate page far each type ofparty.):

              Plaintiff         0 Defendant   ~ Cross-Complainant               QCross-Defendant
COUNTY OF LOS ANGELES, a municipal entity, LOS ANGELES COUNTI' SHERIFF'S DEPARTMENT, a municipal entity, SHERIFF
ALEX VILLANUEVA, in his individual and o~cial capacities, end DOES 1-50 Inclusive.




                                                                                                                Page     t    of
                                                                                                                                      or 1
 FormAdoD~edforMandatoryUse                   ADDITIONAL PARTIES ATTACHMENT
   Judicial Countil of Cafdomla
SUM-200(AJ (Rov. January 7, 2007)                   Atta chme nt t o Summon s
                                                              N. ..
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Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 10 of 53 Page ID #:10




                                                                                                                               SUM -200 A
  SHORT TITLE:                                                                                  case nurnsea:
  Williams, et ai. v. County of Los Angeles, of al.


                                                          INSTRUCTIONS FOR USE
  --~ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  -~ If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
      Attachment form fs attached:'
 List additional parties (Check only one box. Use a separate page (or each type o/party.J:

               Plaintiff        ~ Defendant     [~ Cross-Complainant            QCross-Defendant
 DONNA LOUISE WILLIAMS, individually and as Succesor-In-Interest to THE ESTATE OF FRED WILl.IAMS III; THE ESTATE OF
 FRED WIILIAMS III; and, FRED WILLIAMS JR., an individual




                                                                                                                  Page     1    of


  Form Adoplod (or Mandatory Uso                ADDITIONAL PARTIES ATTACHMENT
    Judicial Coundl of Califomla
 SUM-200(A) (Rov. January i, soo~7                      Attachment to Summons
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               Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 11 of 53 Page ID #:11
Electronically FILED by Supe rior Court of California, County of Los Angeles on 03/22/202~ 1Q:2Z AM9~Erri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                                                                                        2 STC;V10 li
                                         Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Daniel Crowley




                         1  LAW OFFICES OF BRIAN D. WITZ~R, INC.
                            Brian D. Witzer (SBN 123277)
                        2 Eric C. Canton (SBN 311666)
                            Kenneth J. Melrose (SBN 310113)
                        3 ' 2393 Venus Drive
                            Los Angeles, California 90046
                        4   Telephone: (310) 777-5999
                            Facsimile: (310) 777-5988
                        5

                        b
                                                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
                        7
                                                              COUNTY OF LOS ANGELES —CENTRAL DISTRICT
                        8

                        9
                                DONNA LOUISE WILLIAMS, individually and                                         Case No. ~ '1 L:T ~"''•.'' ~I I~ _~~~ ~
                       10       as Successor-in-Interest to THE ESTATE OF
                                FRED WILLIAMS III; THE ESTATE OF FRED                                           COMPLAINT FOR DAMAGES
                       11       WILLIAMS III, and, FRED WILLIAMS JR., an
                                individual,
                       12                                                                                       1. WRONGFUL DEATH
                                                                                                                2. BATTERY (SURVIVAL ACTION)
                       13                                          Plaintiffs                                   3. ASSAULT (SURVIVAL ACTION)
                                                                                                                4. NEGLIGENCE (SURVIVAL ACTION)
                       14       vs.                                                                             5. VIOLATIONS OF CAL. CIV. CODE § 52.1
                                                                                                                    (BANE ACT) (SURVIVAL ACTION)
                       15       COUNTY OF LOS ANGELES, a municipal                                              6. NEGLIGENT HIRING, SUPERVISION,
                                entity, LOS ANGELES COUNTY SHERIFF'S                                                RETENTION (SURVIVAL ACTION)
                       16       DEPARTMENT, a municipal entity, SHERIFF                                         7. DEPRIVATION OF CIVIL RIGHTS — 42
                                ALEX VILLANUEVA, in Isis individual and                                             U.S.C. § 1983
                       17       official capacities, and DOES 1-50 inclusive,

                       18                                                                                       [Amount Demanded Exceeds $25,000]
                                                                    Defendants.
                       19                                                                                       DEMAND FOR JURY TRIAL
                      20

                      21

                      22

                      23

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                                                                COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 12 of 53 Page ID #:12




    1                               COMPLAINT AND DEMAND FOR JURY TRIAL

    2            COME NOW tl~e Plaintiffs FRED WILLIAMS III, Decedent, DONNA LOUISE WILLIAMS,

    3    individually and as successor-in-interest of FRED WILLIAMS III, and, FRED WILLIAMS JR. an

    4    individual ("Plaintiffs") for causes of action against the Defendants, COt1NTY OF LOS ANGELES, a

    5    municipal entity, LOS ANGELES COUNTY SHERIFF'S DEPARTMENT, a municipal entity,

    6    SHERIFF ALEX VILLANUEVA, in leis individual and official capacities, and DOES I-50 inclusive

    7    and each of them, and complain and allege as follows:

    8                                                  INTRODUCTION

    9            Plaintiff, FRED WILLIAMS III (hereinafter referred to as "FRCD WILLIAMS III or

   10   "Decedent"), now deceased, was shot and killed by a Los Angeles County Sheriff's Department Deputy

         ("Deputy DOE 1 "), on October 16, 2020 at approximately 5:30 P.M., as he was fleeing Deputy DOE

   12    1's armed pursuit in the general area of 2255 East 122nd street Compton, California. On that day,

   13    without provocation or justification, and with willful and conscious disregard for Decedents life,

   14    Deputy DOE 1 fired eight rounds from his service weapon at Decedent as he leapt over a fence,

   l5   jumping away from the Deputy. One of the gunshots struck Decedent in the back, and deflected into his

   16    abdomen, causing him to eventually bleed to death. The County of Los Angeles Department of the

   17    Medical Examiner-Coroner determined the cause of death of Decedent to be a gunshot wound of back

   18    and deferred the case for additional im~estigation. After a fruitless Coroner's inquest proceeding on

   19    January 28, 2021, which was at all times cloaked in Fifth Amendment pleas and confidentiality claims

   20    that obscured any inkling of what truly took place on the day their family member was gunned down,

   21    Plaintiffs were left with no other redress than to file the prese►~t suit.

   22                                                      PARTIES

   23            l.      Plaintiff DONNA LOUISE VVILLIAMS is an individual residing in the United States

   24    and is the surviving grandmother of the Decedent, FRED WILLIAMS III, who raised Decedent from

   25    youth, and with whom Decedent lived until the time of his death.

   26            2.      Plaintiff THE ESTATE OF FRED WILLIAMS III is represented by and through

   27 ~ Plaintiff, FRED WILLIAMS JR. who brings this action as its Successor-in-Interest pursuant to Code of ~

   28    Civil Procedure ~ 377.60.



                                  COA4PLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 13 of 53 Page ID #:13




                  3.      Plaintiff FRED WILLIAMS JR. is an individual residing in the United States and is the

    2     surviving father of the Decedent.

    3             4.      At all relevant times herein, Defendants COUNTY OF LOS ANGELES ("LA County")

    4     and LOS ANGELES COUNTY SHERIFF'S DEPARTMENT ("LASD") were, and are, municipal

    5     corporations organized and existing under the laws of the State of California.

    6             5.     Plaintiffs are informed, believe, and thereon allege that at all relevant times herein,

    7     Defendant SHERIFF ALEX VILLANUEVA was acting not only as an individual, but was also acting

    8     within the course and scope his employment as the LASD Sheriff, under the complete authority and

    9 1 ratification of the Cou~ity. He is sued therefore in both his individual and official capacities.

   10            6.      Plaintiffs are informed, believe, and thereupon allege that DOE 1 was an LASD

   11     Sheriff's deputy (hereinafter, from time to time, "Deputy DOE 1 ") wlio was acting as an agent, servant

   l2     and employee of Defendant LA County and/or the LASD, and was acting within the course and scope

   13     of his employment therewith, and with complete authority and ratification of County when he shot and

   14     killed Decedent on the date of the incident. He is sued therefore in both his individual and official

   15     capacities. Plaintiffs will amend this Complaint to allege his true name and capacity when ascertained.

   16            7.      Plaintiffs are informed, believe, and thereupon allege that remaining DOES 2 through 50

   17 'i were the agents, servants, and employees of Defendant LA County anc~/or the LASD. Plaintiffs are

   18 I ignorant of the true names and capacities of Defendants sued herein as DOES 2 through 50, inclusive,

   19     and therefore sue these Defendants by such fictitious names. Plaintiffs will amend this Complaint to

   20     allege their true names and capacities when ascertained. The individual DOE Defendants are sued in

   21     both their individual and official capacities.

   22 ~          8.      Upon information and belief, at all material times herein, each defendant was the agent,

   23 I~ servant and employee of Defendant LA County and was acting within the purpose, scope and course of

   24     said agency, service and employment, with the express and/or implied knowledge, permission and

   25     consent of said Defendant, who ratified and approved the acts of the other Defendants.

   26            9.      Allegations made in this Complaint are based upon information and belief, except those

   27     allegations which pertain to the named Plaintiffs which are based on personal knowledge. The

   28     allegations of this Complai~lt stated on information and belief are likely to have evidentiary support


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    1      after a reasonable opportunity for further investigation or discovery

    2              10.    The true names and capacities, whether individual, corporate, associate or otherwise, of

    3      defendants DOES 1 through 50, inclusive, are w~known to Plaintiffs who therefore sue said defendants

    4      by such fictitious names. Each of the defendants designated herein as a DOE is legally responsible in

    5      some manner for the events and happenings herein alleged, and Plaintiffs' damages as alleged herein

    6      were proximately caused by such defendants. Plaintiffs will ask leave of this Court to amend this

    7      Complaint and insert the true names and capacities of said DOE defendants when the same have been

    8      ascertained.

    9              11.    Plaintiffs are informed, believe, and thereupon allege that the practices, policies, acid

   10      customs of the County of Los Angeles and/or the LASD caused the unlawful action taken against

   11      Plaintiffs.

   12 I~                                       JURISDICTION AND VENUS

   13              12.    This Court has jurisdiction over this action pursuant to California Code of Civil

   14 ~ Procedure, section 410.10.

   15              13.    Venue is proper in this Court because the events and transactions giving rise to this

   16      action took place in Los Angeles County.

   17              14.    Plaintiff timely presented a government tort claim to the County of Los Angeles on

   18 I November 4, 2020 pursuant to California Government Code sec. 910 for damages sustained as a result

   19      of the incident alleged herein (which claims are attached to the Declaration of Kenneth J. Melrose

   20      ("KJM Decl.") in support of the Complaint as Exh. "A".) The claims were rejected by Defendant,

   21      County of Los Angeles by their failure to respond within forty-fve days from the presentation of the

   22      claim for damages (see corresponding rejection of claims by the County attached as Exh. "B" to KJM

   23      Decl.) Based on the foregoing Plaintiff has jurisdiction to present these claims.

   24                                              NATURE OF ACTION

   25              I5.    On October 16, 2020, at approximately 5;30 p.m. Decedent was standing around Mona

   26      Park, near 2255 East 122nd street in Compton, California, with a group of friends.

   27              16.    Without warning, Deputy DOE 1 and another unknown LASD deputy pulled their squad

   28      car up to the group, and Deputy DOE 1 abruptly leapt from the vehicle, and gave chase to Decedent, wh


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    1     fled.

    2             17.      After taking flight, Decedent ran through the parking lot of Mona Park, out onto E 122"d

    3     Street, wherein he ran up the driveway of the private residence located at 2255 East 122nd street, into th

    4     backyard.

    5             18.      Deputy DOE 1 gave chase on foot, and unholstered his service weapon, running gun-in-

    6     hand after Decedent. Meanwhile, the unknown Deputy DOE, presumably DOE 1's partner, drove the

    7     squad car to the private residence, and parked it out front.

    S             19.      Deputy DOE 1 ran up the driveway with weapon held at the ready, following Decedent i~

    9     the residence's backyard.

   10             20.      As he turned a blind corner around the garage in the backyard, Deputy DOE saw Decede .

   11     standing atop the roof of a metal shed, preparing to leap over a lower cinderblock wall into the adjacent

   12     private residence's backyard.

   13             21.      Instantly, and without any preceding command, Deputy DOE 1 fired eight shots, as

   14     Decedent leapt away from him, over the wall.

   15             22.      Decedent was hit in his back as ]ze leapt in midair, and based on the deflection of the bull

   16     from his scapula into his abdomen, fatally bled to death , landing on the other side of the wall in a

   17     crumpled ball.

   18             23.      No immediate emergency life saving measures were employed, and it is likely that

   19     Decedent lay there for some time, untreated.


                                                 FIRST CAUSE OF ACTION
   2]
                               Wrongful Death Action pursuant to CCP sec. 377.60 & 377.61
   22
                                Donna Louise Williams and Fred Williams Jr•. v. All Defendants
   23
                  24.      Plaintiffs reallege and reincorporate by reference each and every paragraph above as
   24
          though fully set forth herein.
   25
                  25.      Plaintiff, Fred Williams Jr., as parent and surviving heir of leis son, Fred Williams III
   26
          and Donna Louise Williams, as grandmother and surviving 11eic of her grandson, assert a wrongful
   27 I
          death action against all Defendants pursuant to §377.60 et seg, and § 377.61 et seq. of the California
   28


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    1   Code of Civil Procedure. Said claim is based upon the fact that the negligent, reckless, and/or wrongful

    2   acts and omissions of Defendants, and Defendant Deputy DOE I , as alleged herein, was a direct,

    3   proximate, and legal cause of Fred Williams III's death. As a result of Decedent's wrongful death,

    4   Plaintiffs' losses include but are not limited to: Plaintiffs' loss to Decedent's companionship, comfort,

    5   society, and life-long love, which Plaintiffs will be deprived for the remainder of their lives.

    6          26.     Defendants, and each of them, including DOES 2 through 50, and Deputy DOE I

    7   inclusive, owed a duty of care to all reasonably foreseeable people, including Plaintiffs and Decedent,

    8   to carry out their law enforcement duties in a reasonable manner, including with the justified use of any

    9   force, including and especially, deadly force.

   10          27.     Plaintiffs are informed, believe and thereon allege that at all times relevant and

   11   mentioned herein, Defendants, including DOES 2 through 50, and especially Deputy DOE 1, were

   12   acting within the course and scope of their employment with the Los Angeles County Sheriff's

   13   Department when they breached these duties by unlawfully and unjustifiably, without consent, cause,

   14   and/or provocation, used deadly force against Decedent, Fred Williams ITI, when Deputy DOE 1

   15   intentionally fired eight shots from his duty weapon towards Decedent which inflicted a fatal wound

   16   and resulted in Decedent's death.

   17          28.     Plaintiffs are further informed, believe, and thereon allege that at all times relevant and

   18   mentioned herein, Defendants LASD and LA County owed a duty of care to all reasonably foreseeable

   19   people, including Plaintiffs and Decedent, to reasonably train and supervise their police officers to

   20   carry out their law enforcement duties, including particularly, with the use of any firearms or any force

   2]   whatsoever, in a reasonable manner.

   ?2          29.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

   23   mentioned herein, Defendants LASD and LA County and DOES 2 through 50 breached these duties

   24   when they negligently, recklessly, and intentionally or willfully, failed to adequately train, supervise,

   25   and discipline their• deputies, especially Deputy DOE 1, in the use of force, including deadly force.

   26          30.     As a direct and proximate result of these acts and omissions of Defendants LASD and

   27   LA County, including DOES 1 through 50, and each of them, by their failure to re-train, discipline, and

   23


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    1      remove unfit deputies from service, caused all of the conduct outlined in this claim to occur; which

    2      resulted in the wrongful death of Decedent Fred Williams III.

    3               31.     As a further direct and legal proximate result of aforementioned wrongful conduct by

    4      Defendants, each of them, including DOES 1 through 50, inclusive, Plaintiffs Fred Williams Jr. and

    5      Donna Louise Williams have sustained damages including but not limited to their loss of love,

    6      companionship, comfort, care, assistance, protection, society, and support of Decedent, Fred Williams

    7      III.

    8               32.     Pursuant to C.C.P. sections 377.60 and 377.61, Plaintiffs have brought this action, and

    9      claim damages from said Defendants for the wrongful death of Decedent, and the resulting injuries and

   10      damages.

                                                 SECOND CAUSE OF ACTION

   12 'i                           Battery as a Survival Action pursuant to CCP sec. 377.30

   13             Plaintiff Fred Williams III by and throzrgh Fred Willian7s Jr., l7is sarccessor-in-interest vs. All
                                                            Defendants
   14
                    33.     Plaintiffs reallege and reincorporate by reference each and every paragraph above as
   IS
           though fully set forth herein.
   16
                    34.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and
   17 i
           mentioned herein, Deputy DOE 1 committed a battery against Plaintiff Decedent, when Deputy DOE I
   18 I
           intentionally fired eight shots from his duty weapon towards Decedent, which inflicted a fatal wound.
   19
           Deputy DOE used unreasonable, unnecessary, and excessive force without sufficient provocation, or
   20
           legal justification.
   21 '~
                    35.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and
   ?2
           mentioned herein, Defendants and DOES 1 through 50 acted intending that a harmful or offensive
   23
           contact occur on the person of Fred Williams III.
   24
                    36.     Deputy DOE 1 aimed his duty weapon towards Decedent and thereafter deliberately,
   25
           intentionally, repeatedly and unjustifiably discharged eight bullets at Decedent, for purposes, including
   26
           but not limited to causing a bullet to strike Decedent's person, causing a severe bodily injury and the
   27
           death of Decedent Fred Williams III.
   28


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    1             37.      As a direct and legal proximate result of Defendants' intentional actions to repeatedly

    2     discharge bullets at Decedent sustained a fatal injury.

    3             38.      Defendants, LA County, LASD, and afl DOES, 1 through 50 inclusive, are vicariously

    4     liable for any battery injury committed by named Defendants under Governmental Code §§ 815.2,

    5     815.3 and 820.

    6            39.       As a legal, direct, and proximate result of the conduct of Defendants, and each of them,

    7 ' including DOES 1 through 50, inclusive, Plaintiffs, and each of them, have incurred economic losses,

    8     including, but not limited to, funeral and burial expenses in an amount to be stated according to proof,

    9 I pursuant to California Code of Civil Procedure section 425.10.

   10            40.       As a legal, direct, and proximate result of the conduct of Defendants, and each of them,

   11     including DOES 1 through 50, inclusive, Plaintiffs FRED WILLIAMS JR., and DONNA LOUISE

   12     WILLIAMS, as successors-in-interest to Decedent, FRED WILLIAMS III, hereby seek all damages

   13     accruing to Decedent in a survival action, under California Code of Civil Procedure §377.34, including

   14     punitive damages against Defendants, and each of them.

   15            4l .      Plaintiffs also seek all damages accruing to decedent in a survival action, under tl~e Bane

   16     Act, including but not limited to, attorneys' fees..

   17                                            THIRD CAUSE OT ACTION

   18 I                          Assault as a Survival Action pursuant to CCP sec. 377.30

   19          Plaintiff Fred Williams III by and through Fred Williams Jr., his successor-in-interest vs..411
                                                        Defendants
   20
                  42.      Plaintiffs reallege and reincorporate by reference each and every paragraph above as
   21
          though fully set forth herein.
   22
                  43.      Plaintiffs are informed, believe and thereon allege that at all times relevant and
   23
          mentioned herein, Defendants violated Decedent's right to live without having to endure the fear of an
   24
          imminent and immediate injury caused by Defendants' and Deputy DOE 1's intentional conduct.
   25
                  44.      Upon inforn~ation and belief, Defendants, including Deputy DOE 1, committed an
   26
          assault when they willfully and unlawfully acted with the intent to cause Decedent to believe that he
   27
          would endure a harmful or offensive contact. At the time of the aforementioned assault Decedent posed
   28


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    1   no threat whatsoever to Defendants or anyone else.

    2           45.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

    3   mentioned herein, Decedent reasonably believed that he was about to be touched in a harmful and

    4   offensive manner by Defendants. Defendants, including Deputy DOE 1, actually threatened to touch

    5   Decedent, including but not limited to discharging a firearm, in an offensive and harmful manner.

    6           46.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

        mentioned herein, it reasonably appeared to Decedent that Defendant Deputy DOE 1 discharged his

    8   firearm at Decedent, which was a threat of offensi~~e touching which would offend the reasonable sense

    9   of personal dignity of a person and did, in fact, offend Decedent's reasonable sense of personal dignity

   10   prior to his death.

   11           47.     Plaintiffs are informed, believe, and thereon allege t11at at all times relevant and

   12   mentioned herein, Decedent never consented to the conduct of Defendants, including Deputy DOE 1.

   13           48.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

   14   mentioned herein, Decedent was harmed by the conduct of Defendants, including Deputy DOE 1.

   IS           49.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

   16   mentioned herein, Defendants' conduct was a substantial factor in causing harm to Decedent.

   17           50.     The aforementioned acts of Defendants were done by them knowingly, intentionally,

   18   and maliciously, for the purpose of harassment, oppression and inflicting injury upon Decedent, and in

   19   reckless, wanton, and callous disregard of his safety, security, and civil rights.

   20           51.     Plaintiffs are further informed, believe, and thereon allege that at all times relevant and

   21   mentioned herein, Decedent was harmed by Defendants and Deputy DOE 1, each of whom were

   ?2   responsible for the harm, because they were part of a conspiracy to commit assault against the public.

   23   Based on information and belief, within Los Angeles County Sheriffs Department and County of Los

   24   Angeles, there was a custom, policy and practice, and agreement, whether express or implied, oral or

   25   written, whereby gangs, operating within the Sherriff's Department, including, but not limited to, the

   26   "Executioners", the "Jump Out Boys", the "Vikings" and/or the "3,000 Boys", would use violence,

   27   threats, and retaliation against other deputies, supervisors, and tl~e public. Plaintiffs are informed,

   28   believe, and thereon allege that at all times relevant and mentioned herei~i, Defendants and Deputy


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    1    DOE 1 had possible affiliations with these gangs and, on the day of the subject incident, were possibly

    2    acting in connection and in agreement with these other gang members.

    3            52.     Plaintiffs ai•e informed, believe, and tl~ec•eon allege that at all times relevant and

    4    mentioned herein, that Defendants LA County and LASD knew that Deputy DOE 1 planned to commit

    5 ~ an act of assault by harming decedent, FRED WILLIAMS III. Plaintiffs are further informed, believe,

    6    and thereon allege Defendants intended that the act of assault be committed against Decedent.

    7           53.     The conduct of Defendants, including Defendant DOE, was done within the course and

    8    scope of their employment, agency and/or service with defendants Los Angeles County Sheriffs

    9 , Department, County of Los Angeles, inclusive, and under color of their authority, and Defendants Los

   10    Angeles County Sheriffs Department, County of Los Angeles, are, therefore, vicariously liable for

   11    same under Government Code sections 815.2, 8153 and 820.

   12           54.     As a legal, direct, and proximate result of the conduct of Defendants, and each of them,

   13 ~ Plaintiffs, and each of them, have incurred economic losses, including, but not limited to, funeral and

   14    burial expenses in an amount to be stated according to proof, pursuant to California Code of Civil

   l5    Procedure section 425.10.

   16           55.     As a legal, direct, and proximate result of the conduct of Defendants, Plaintiffs Fred

   17    Williams Jr. and Donna Louise Williams, by and on behalf of the Estate of Fred Williams III, hereby

   18    seek all damages accruing to Decedent in a survival action, under California Code of Civil Procedure

   19    section 37734, including punitive damages, against each Defendant. In addition, Plaintiffs seek all

   20    damages under the Bane Act, including, but not limited to, attorneys' fees.

   21                                         FOURTH CAUSE OF ACTION

   22                     NEGLIGENCE as a Survival Action pursuant to CCP sec. 377.30

   23         Plaintiff Fred Williams III by and through Fred Williams Jr., Isis successor-in-inte~•est vs. All
                                                       Defendants
   24
                56.     Plaintiffs reallege and reincorporate by reference each and every paragraph above
   25
         as though fully set forth herein.
   26
                57.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and
   27
         mentioned herein, Defendants owed a duty of care to all reasonably foreseeable people, including
   28


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    I   Plaintiffs and Decedent, to carry out their law enforcement duties in a reasonable manner, including

    2 ~ ~ with the use of any firearms or any force whatsoever.

    3           58.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

    4    mentioned herein, Defendants carelessly and negligently carried out their law enforcement duties, and

    5 !~ I particularly Deputy DOE 1 used his firearm in a reckless way, and with willful and conscious

    6 ~ disregard, when he shot and killed Decedent.

    7           59.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

    8   mentioned herein, said careless, negligent, reckless, and unlawful conduct by Defendants was the

    9   direct, legal, and proximate cause of the bodily ]larm acid death of Decedent and the resulting damages

   10   to Plaintiffs herein alleged.

   11           60.     Plaintiffs are informed, believe, and (hereon allege that at all times relevant and

   12   mentioned herein, Defendants LASD and LA County owed a duty of care to all reasonably foreseeable

   13   people, including Plaintiffs and Decedent, to reasonably hire, select retain and discipline their police

   14   Deputies, including Deputy DOES 1 through 50, inclusive.

   15           61.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

   16   mentioned herein, Defendants LASD and LA County owed a duty of care to all reasonably foreseeable

   17   people, including Plaintiffs and Decedent, to reasonably train and supervise their police officers to

   18   carry otit their law enforcement duties, including particularly, with the use of any firearms or any force

   19   whatsoever, in a reasonable manner.

   20           62.     Plaintiffs are informed, believe and thereon allege that at all times relevant and

   21   mentioned herein, Defendants further breached their duty because within Los Angeles County Sheriffs

   22   Department and County of Los Angeles, there was a custom, policy and practice, whcthcc express or

   23   implied, oral or written, that allowed all of the conduct outlined in this claim to occur and that allowed

   24   this tragic and unjustified shooting of Decedent to occur.

   25           63.     Plaintiffs also are informed, believe, and thereon allege that at all times relevant and

   26    mentioned herein, Defendants knew or should have known about gangs within the Los Angeles County

   27   Sheriffs Department. Based on information and belief, these gangs are comprised of Los Angeles

   28   County Sheriff's Deputies who use violence, threats, and retaliation against other deputies, supervisors,


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    1   and the public. Plaintiffs also are informed, believe, and thereon allege that at all times relevant and

    2   mentio~ied herein, Defendant Deputy DOE 1 had possible affiliations with at least one of these Los

    3   Angeles County Sheriffs Department gangs. Moreover, Plaintiffs are informed, believe, and thereon

    4   allege that at all times relevant and mentioned herein, Sheriff Alex Villanueva and DOES I through 50,

    5    inclusive, specifically knew or should have known of these gangs' presence in the Los Angeles County

    6   Sheriffs Department and failed to take any action.

    7           64.     The conduct of Defendants and each of them, was done within the course and scope of

    8   their employment, agency and/or service with Defendants Los Angeles County Sheriffs Department,

    9 'I County of Los Angeles, and under color of their authority, and defendants Los Angeles County

   10   Sheriff s Department and County of Los Angeles, and each of them, are, therefore, vicariously liable for

   11   the same under Government Code sections 815.2, 815.3 and 820.

   12           65.     As a direct legal and proximate result of the conduct of Defendants Plaintiffs, Fred

   13   Williams III and Donna Louise Williams as successors-in-interest to the Estate of Fred Williams Jr.,

   14   hereby seek all damages accruing to Decedent in a survival action, under California Code of Civil

   15   Procedure section 377.34, including punitive damages, against each Defendant. In addition, Plaintiffs

   16   seek all damages under the Bane Act, including, but not limited to, attorneys' fees.

   17                                            FIFTH CAUSE OF ACTION

   18                                       Violation of the Bane Act (C.C.P. § 52.1)

   19                                              Plaintiffs v. All Defendants

   20           66.     Plaintiffs reallege and reincorporate by reference each and every paragraph above

   21   as though fully set forth herein.

   22           67.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

   23   mentioned herein, Defendants made threats of violence against Decedetlt causing him to reasonably

   24    believe that if he exercised his rights guaranteed to him by the Constitutions of the United States and

   25   the State of California, and under Civil Code section 52.1, including, but not limited, his right to be

   26   secure in his person and free from the use of excessive force, the right of protection from bodily

   27    restraint and harm, he would be harmed or killed.

   28           68.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and


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        mentioned herein, Defendants intentionally interfered by threats, intimidation andlor coercion, with the

    2   exercise and enjoyment by Decedent prior to his death, of rights secured by the Constitution of the

    3   United States and the State of California, including interference wit11 his rights to be secure in his

    4   person and free from the use of excessive force, unreasonable harassment or detention without

    5   reasonable suspicion and probable cause, and the right of protection from bodily restraint and harm,

    6   unreasonable harassment or detention without reasonable suspicion and probable cause, the right to due

    7   process, and equal protection, Defendants would commit violence against him and/or his property.

    8   Furthermore, Plaintiffs are informed, believe, and thereon allege that at all times relevant and

    9   mentioned herein, Defendants had the apparent ability to carry out these threats.

   10          69.     Plaintiffs are also informed, believe, and thereon allege that at all times relevant and

   1]   mentioned herein Defendants, including Defendant DOE acted violently against Decedent to prevent

   12   hiin from exercising his rights guaranteed to him by the Constitutions of the United States and the State

   13   of California, and under Civil Code section 52.1, including, but not limited, his right to be secure in his

   14   person and free from the use of excessive force, the right of protection from bodily restraint and harm,

   l5   the right to due process, and equal protection. Furthermore, Plaintiffs are informed, believe, and

   16   thereon allege that at all times relevant and mentioned herein Defendants, including Defendant Deputy

   17   DOE 1, acted violently to retaliate against Decedent, FRED WILLIAMS III, for having exercised his

   18   aforementioned rights.

   19          70.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

   20   mentioned herein Decedent was, without any provocation or justification whatsoever, fatally shot in the

   21   back by Defendant Deputy DOE 1.

   22          71.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

   23   mentioned herein, Defendants' conduct was a substantial factor in causing the tragic death of Decedent. ~

   24          72.     The conduct of Defendants was done within the course and scope of their employment,

   25   agency and/or service with defendants Los Angeles County Sheriffs Department and County of Los

   26   Angeles, inclusive, and under color of their authority, and Defendants Los Angeles County Sheriffs

   27   Department and County of Los Angeles, and each of them, are, therefore, vicariously liable for the

   28   same u»der Government Code §§ 815.2, 815.3 and 820.


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    I '           73.     As a legal, direct, and proximate result of the negligence, carelessness, and/or violation
    2     of the law, by Defendants, Plaintiffs have sustained damages resulting from the loss of love,
    3 ~ companionship, comfort, care, assistance, protection, affection, society, acid support, expectations of

    4     future support, and counseling, companionship, solace and mental support, as well as other benefits and

    5     assistance, of their respective Decedent.
    6             74.     As a legal, direct, and proximate result of the conduct of Defendants, Plaintiffs have

    7     incurred economic losses, including, but not limited to, funeral and burial expenses in an a►nount to be

    8     stated according to proof, pursuant to California Code of Civil Procedure section 425.10.

    9             75.     As a legal, direct, and proximate result of the conduct of Defendants, Plaintiffs Fi•ed

   10     Williams Jr. and Donna Louise Williams by and on behalf of the Estate of Fred Williams tII hereby
   11     seek all damages accruing to Decedent in a survival action, under California Code of Civil Procedure
   12     section 377.34, including punitive damages, against Defendants. In addition, Plaintiffs seek all dama~

   13     under the Bane Act, including, but riot limited to, attorneys' fees.

   14             76.     Under California Civil Code section 52(b)(2), Plaintiffs are fut•tlier entitled to a civil

   15     penalty of $25,000.00.

   16                                           SIXTH CAUSE OF ACTION

   17                                     Negligent Training, Retention, and Supervision

   18                              Plaintffs vs. AZ! Defendants and DOES 1 through 50 inclusive

   19             77.     Plaintiffs reallege and reincorporate by reference each and every paragrlph above

   20     as though frilly set forth herein.
   ?1             78.     Plaintiffs are informed, believe, and t]Iereon allege that they were harmed by the actions
   22     of Deputy DOE 1 when their son and grandson, Decedent was shot and killed. Plaintiffs further allege

   ?3 I' and believe that Defendants Los Angeles County and Los Angeles County Sheriffs Department,
   24     inclusive, negligently hired, supervised, and retained Deputy DOE 1, among others.
   25             79.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and
   26     mentioned herein, Defendants hired Deputy DOE 1. Plaintiffs are further informed, believe, and
   27     thereon allege that at all times relevant and mentioned herein, Defendants owed a duty of care to all
   28     reasonably foreseeable people, including Plaintiffs and Decedent, to reasonably hire, select, retain, and


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    1      discipline their police deputies and to reasonably train and supervise their deputies to carry out their

    2      law enforcement duties, including particularly, with the use of any firearms or any force whatsoever, in

    3      a reasonable manner.

    4             80.      Plaintiffs are further informed, believe, and thereon allege that at all times relevant and

    5      mentioned herein, Defendants breached these duties by failing to adequately train and supervise their

    6      deputies in the use of force. In fact, deputies at the scene were negligently and poorly trained,

    7      negligently and poorly hired, negligently and poorly supervised (both at the scene and before), and

    8      negligently retained. Additionally, Defendants were negligent in the hiring, training, supervision,

    9      rete~ition, and disciplining of the deputies involved in the shooting, as well as the officers who trained

   10      the involved deputies throughout their careers, from the academy to the date in question.

                  81.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

   12      mentioned herein, that Deputy DOE 1 was always unfit and incompetent to perform the work for which

   13      he was hired. In particular, Deputy DOE 1 was improperly provided a gun and entrusted with the

   14      ability to use lethal force on members of the public.

   15 I~          82.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

   16      mentioned herein, Defendants knew or should have known that Deputy DOE 1 was unfit and

   17      incompete~it to carry out the duties of a police officer. Specifically, Plaintiffs are further informed,

   18      believe, and thereon allege that at all times relevant and mentioned herein, Defendant Deputy DOE 1

   19      had a history of misconduct and use of excessive force.

   20             83.     Defendants further breached their duty since the deputies who were at the scene of the

   21      subject incident, including Defendant DOE had a history of bad traffic and pedestrian stops, improper

   22      uses of force, improperly dischargi~ig their firearms, failing to follow proper• procedures, and making

   23      false statements during investigations. Yet this deputy was never disciplined, or was not disciplined

   24      properly, and was never trained or re-trained properly, and was never removed from service.

   25              84.    Plaintiffs also are informed, believe, and thereon allege that at all times relevant and

   26      mentioned herein, Defendants knew or should lave known that Defendant Deputy DOE 1 had possible ~

   27      affiliations with gangs within the Los Angeles County Sheriffs Department.

   28


                                   COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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    l            85.     For all of the aforementioned reasons, Plaintiffs are informed, believe, and thereon

    2     allege that at all times relevant and mentioned herein, Defendant Deputy DOE 1 was unfit and

    3     incompetent to work as a deputy and that this unfitness and incompetence created a particular risk to

    4     others including Decedent.

    5 1          86.     Plaintiffs are informed, believe, and (hereon allege that at all times relevant and

    6     mentioned herein, Defendant Deputy DOE 1's unfitness and incompetence caused the tragic death of

    7     Decedent when he, without provocation or justification, and in violation of Defendants' own policies

    8     and procedures, chased after- Decedent down the residential driveway and fatally shot at Decedent's

    9 1 back multiple times, inflicting a fatal gunshot wound.
   10            87.     Plaintiffs are informed, believe, and thereon allege that at all times relevant and

   11 i mentioned herein, Defendants' negligence in hiring, supervising, and retaining Defendant Deputy DOE

   12     1 was a substantial factor in causing the death of Decedent.

   13            88.     The conduct of Defendants was done within the course and scope of their employment,

   14     agency and/or service with Defendants LA County and LASD, and under color of their authority, and

   15     Defendants LA County and LASD are therefore vicariously liable for the same under Government

   16 I' Code §§ 815.2, 815.3 and 820.

   17            89.     As a legal, direct, and proximate result of the negligence, carelessness, and/or violation

   18     of the law, by Defendants, Plaintiffs have sustained damages resulting from the loss of love,

   19     companionship, comfort, care, assistance, protection, affection, society, and support, expectations of

   20     future support, and counselinb, companionship, solace and mental support, as well as other benefits and

   21     assistance, of their respective Decedent.

   22            90.     As a legal, direct, acid proximate result of the conduct of Defendants, and each of them,

   23     Plaintiffs, and each of them, have incurred economic losses, including, but not limited to, funeral and

   24     burial expenses in an amount to be stated according to proof, pursuant to California Code of Civil

   25     Procedure section 425.10.

   26            91.     As a legal, direct, and proximate rescalt of the conduct of Defendants, Plaintiffs hereby

   27     seek all damages accruing to Decedent in a survival action, under California Code of Civil Procedure

   28


                                 COMPLAINT FOR DAIVIAGES; DEMAND FOR JURY TRIAL
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    1   section 377.34, including punitive damages. In addition, Plaintiffs seek al] damages under the Bane

    2   Act, including, but not limited to, attorneys' fees.

    3                                       SEVENTH CAUSE OF ACTION

    4                                              Violation of 42 U.S.C. 1983

    5                            Plaintiffs vs. All Defei~darrts arzd DOES 1 through SO inclusive

    6           92.     Plaintiffs rea(lege and reincorporate by reference each and every paragraph above as

    7   though fully set forth herein.

    8           93.     Tliis cause of action is brought on behalf of Decedent by and through his Successors in

    9   interest, Plaintiffs Fred Williams and Donna Louise Williams, who would but for his death be entitled

   10   to bring this cause of action and is set forth herein.

   11           94.     Plaintiff Fred Williams III, by and through his successors in interest maintains that

   12   Defendants, especially Deputy DOE 1, acting within the purpose, scope and course of County of Los

   13   Angeles, and Los Angeles County Sheriff's Department's service and employment, unjustifiably, by

   14   use of deadly and excessive force, deprived Decedent of his privileges, and/or immunities secured to

   IS   Decedent by the Fourteenth Amendment of the Constitution of the United States to associate with his

   76   father, with his grandmother, rights to enjoy care, companionship, familial relationship, and to be free

   17   from arbitrary and unreasonable governmental intrusions in Decedent's family unit.

   18           95.     Defendants' conduct violated Decedent's rights, as provided for under the Fourth

   19   Amendment to the United States Constitution, to be free from excessive and/or arbitrary and/or

   20   unreasonable use of deadly force against l~im, by having forced Decedent to endure great conscious

   2l   pain and suffering caused by Deputy DOE 1's conduct before leis death.

   22           96,     Defendants and each of them, acted under color of law by shooting and killing Decedent

   23   without any lawful justification and subjecting Decedent to excessive force thereby depriving him of

   24   certain constitutionally protected rights, including, but not limited to the right to be free from

   25   unreasonable governmental seizures of his person.

   26           97.     As a direct and proximate result of the wrongful acts and omissions of Defendants, and

   27   especially Deputy DOE 1's above actions, Defendants were acting under color of state law, and without

   28   due process of law when they deprived Plaintiffs of their right to a familial relationship by seizing


                                COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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    1     Decedent by use of unreasonable, unjustified deadly force and violence, causing injuries which resulted

    2     in Decedent's death, all without provocation and did attempt to conceal their extraordinary use of force

    3     and Hide the true cause of Decedent's demise to deprive Plaintiffs of their right to seek redress in

    4     violation of their• rights, privileges, and immunities secured by the Fourteenth Amendment to the

    5     United States Constitution.

    6            98.     As a furtI~er direct and proximate result of the wrongful acts and omissions of

    7     Defendants, Plaintiffs, Fred Williams Jr. and Donna Louise Williams, have suffered extreme and severe

    8 ', emotional distress, mental anguish, and pain, and have been deprived of tl~e life-long love,

    9 1~I companionship, comfort, support, society, care, and sustenance of Decedent and will continue to be so
   10     deprived for the remainder of their natural ]rues, all to their damage in a sum to be determined at trial.

   11            99.     Plaintiffs are entitled to and hereby demand costs, attorneys' fees, and expenses pursuant

   12     to 42 U.S.C. § 1988.

   13                                                      PRAYER

   14             WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

   15             On all Causes of Action:

   16            A.      General damages in an amount in excess of the minimum jurisdictional limits of

   17                    Court;

   18 I          B.      All medical expenses, both past and future, according to proof;

   19            C.      All loss of earnings, earning capacity, and profits according to proof;

   20            D.      All incidental damages, according to proof;

   21            E.      Costs of suit incurred herein; and

   22            F.      Such other and further relief as this Court may deem just and proper.

   23            As to the Second, Third, Fourth, Fifth and Sixth Causes of Action:

   24            A.      An award of punitive damages for Defendants' malicious, oppressive, fraudulent or

   25                    reckless conduct, in an amount sufficient to punish such conduct and to deter such

   26                    conduct in the future.

   27     //
   28     //


                                  COMPLAINT rOR DAMAGES; DEMAND FOR JURY TRIAL
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    1                                        DEMAND FOR TRIAL BY JURY

    2            Plaintiffs demand a trial by jury of all issues so triable in this action

    3

    4      Dated: March 18, 2020                         LAW OFFICES OF BRIAN D. WITZER, INC.

    5

    6                                                                  ~1~
                                                         Brian D.gWitzer ~j
    7                                                    Eric R. Canton
                                                         Kenneth J. Melrose
    8
                                                         Attorneys for Plaintiffs DONNA LOUISE WILLIAMS,
    9                                                    individually and as successor in interest to the ESTATE
                                                         OF FRED ~~VILLIAMS III, THE ESTATE OF FRED
   10                                                    WILLIAMS III, and FRED WILLIAMS JR.,
                                                         individually

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                                 COMPLAINT FOR DAMAGES; DEMAND FOR NRY TRIAL
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    l    LAW OFFICES OF BRIAN D. WTTZER, INC.
         Brian D. Witzer (SBN 123277)
    2    Eric C. Canton (SBN 311666)
         Kenneth J. Melrose (SBN 310113)
    3    2393 Venus Drive
         Los Angeles, California 90046
    4    Telephone: (310) 777-5999
         Facsimile: (310) 777-5988
    5
    6
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
    7
                          COUNTY OF LOS ANGELES —CENTRAL DISTRICT
    8


         DONNA LOUISE WILLIAMS, individually and      Case No.
   I I   as Successor-in-Interest to THE ESTATE OF
         FRED WILLIAMS III; THE ESTATE OF FRED        DECLARATION OF KENNETH J.
         WILLIAMS III, and, FRED WILLIAMS JR., an     MELROSE IN SUPPORT OF PLAINTIFFS'
         individual,
   12                                                 COMPLAINT

   13                        Plaintiffs

   14    vs.                                          [Amount Demanded Exceeds $25,000]
   15  COUNTY OF LOS ANGELES, a municipal
       entity, LOS ANGELES COUNTY SHERIFF'S           DEMAND FOR JURY TRIAL
   i[1 DEPARTMENT, a municipal entity, SHERIFF
       ALEX VILLANUEVA, in his individual and
   17 official capacities, and DOES 1-50 inclusive,

   18
                              Defendants.
   19

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                            COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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    1                               DECLARATION OF KENNETH J. MELROSE

    2   I, KENNETH J. MELROSE, state and declare as follows:

    3       I . I am an attorney duly licensed to practice law in the state of California and am attorney of

    4   record for Plaintiffs, DONNA LOUISE WILLIAMS, THE ESTATE OF FRED WILLIAMS III, and

    5   FRED WILLIAMS JR., in the above-captioned matter.

    6       2. As such, I have personal knowledge of the facts surrounding the present action and all the facts

    7   herein stated. If called as a witness, I could and would testify competently to the following:

    8       3. I make this declaration in support of Plaintiff's Complaint, including its compliance with the

    9   Government Tort Claims Act and Exhibits referenced within the body of the Complaint,

   10       4. Attached hereto collectively as Exhibit "A" are true and correct copies of Plaintiff's November

        4, 2020 Notices of Claim ("Claims"), which were served on the County of Los Angeles Board of

   12   Supervisors (liereinaftei• at times referred to as "the County,") on or about that date, apprising the

   13   County of Plaintiffs' collective intent to file claims for personal injury and wrongful death against it

   14   and its various agencies, including, but not limited to, the Los Angeles County Sheriff's Department.

   15       5. Attached hereto collectively as Exhibit "B" are true and correct copies of the January 22, 2021,

   16   responses from the County stating that Plaintiff's Claims were all rejected by operation of law on

   17   December 21, 2020.

   18       6. Those responses comprising Exhibit "B" collectively informed Plaintiffs that pursuant to

   19   Government Code Section 945.6, they had six months from January 22, 2021, to initiate legal action

   20   based on the Claims.

   21       7. Based on the foregoing, I believe that Plaintiffs have made a good faith effort to fully comply

   22   with the Govei•iiment Tort Claims Act prior to tl~e initiation of this suit.

   23       I declare under penalty of perjury under the laws of the State of California that the foregoing is true

   24   and correct.

   25       Executed this 18`h day of March 2021, in the State of California.

   26

   27                                                   /s/ Kenneth J. Melrose

   28                                                   KENNETH J. MELROSE, Declarant



                                COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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                                EXHIBIT A
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                                                 LAW OFFICES OF

                                         BRIAN D. WITZET~, IN'C.
                                           WITZER LAW BUILDING
                                                2393 VENUS DRIVE

                                        LOS ANGELES CALIFORNIA 90046

 EMAIL; bl19f1QWIt2Bf19w.COR1          (310) 777-5999   FAX 1310) 777-5988                    WVlW.W~t20f~9W~COf11



                                               November 4, 2020


     Executive Office, Board of Supervisors
     Attn: Claims
     Kenneth Hahn Hall of Administration
     500 W. Temple St., Room 383
     Los Angeles, CA 90012

     Sent via Certified Mail, RetLrrrl Receipt Requested


     Dear Board of Supervisors, County of Los Angeles:

     The Estate of Fred Williams III (hereinafter "Claimant"), by and through its representative Fred
     Allen Williams, Jr., hereby makes claim against the Los Angeles County Sheriff's Department
     ("LASD") and makes the following statements in support of the claim:

          1. Claimant's post office address was 2109 East 120th Street, Los Angeles, CA 90059.

          2. Notices concei-~ling this claim should be sent to The Law Offices of Brian D. Witzer,
             2393 Venus Drive, Los Angeles, California 90046.

          3. The occurrence giving rise to this claim took place around 5:30 P.M, on October t6, 2020
             in Willowbrook, California. Specifically, the occurrence took place near Mona Park in
             the 2200 block of East 121st Street.

          4. The circumstances giving rise to this claim are as follows:

                   a. LASD deputies from the Century Sheriffs Station were patrolling Mona Park
                      when they spotted Claimant allegedly in possession of a firearm in the presence of
                      ten to fifteen other individuals congregated in a parking lot.
                   b. After an unprovoked confrontakion, one of the Sheriff's deputies got out of his
                      patrol car whereupon Claimant departed from the parking lot on foot. Claimant
                      ran down a driveway and into a backyard, with the Sheriff's deputy pursuing on
                      foot, weapon drawn, through private properties.
                   c. Claimant eventually climbed on top of a garden shed in ail attempt to escape by
                      jumping over a high brick wall.
                   d. Claimant was mid-air, leaping over the brick wall, when the Sheriff's deputy
                      sprinted around the corner, gun drawn and pointed, and, failing to assess the
                      situation at all, immediately fired multiple shots at Claimant.
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        BRIAN D. 'WTTZ~R
  LAW OFFICES OF BRIAN D. WITZER, INC.


                 e. At least one bullet struck Claimant in the back. Claimant subsequently fell onto
                    the ground on the other side of the fence.
                 f. Claimant perished, as the direct result of his injuries, shortly thereafter.

         S. Tn the event the Board rejects this claim, Claimant anticipates filing, without limitation,
            the following causes of action in a Court of competent jurisdiction:

                a. Negligence. The LASD and the Sheriff's deputy under its employ breached the
                   standard of care they owed to Claimant, as well as the public in general, and said
                   breach was the direct, legal, and proximate cause of the death of Claimant.
                b, Negligent Training/Retention/Supervision. Claimant would be alive today but
                   for the LASD's failure to undertake proper screening procedures in hiring the
                   involved Sheriffs deputy and/or the LASD's failure to properly train the Sheriffls
                   deputy.
                c. Vicarious Liability. Claimant was killed by the actions of the Sheriffs deputy,
                   actions which were undertaken while that deputy was acting in the course and
                   scope of his employment with LASD.
                d. Survival Action. The intentional, reckless, and negligent actions of the Sheriff's
                   deputy legally, directly, and proximately resulted in the death of the Claimant,
                   and the Sheriff's deputy's actions amounted to an excessive and unjustifiable use
                   of deadly force.
                e. Assault. The Sheriff's Deputy's pursuit of Claimant with his gun drawn, and
                   subsequent pointing of the weapon at Claimant, caused Claimant to suffer
                   apprehension of an immediate hannful contact to his person, a threat that the
                   Sheriffs deputy appeared reasonably able to carry out, and in fact did carry out,
                   by virtue of his status as a law enforcement officer,
                f. Battery. The excessive and unjustifiable use of deadly force resulted in an
                   offensive contact with Claimant's person, resulting in his death.
                g. Violation of the Bane Act (Cul. Civ, Code § 52.1). The deputy intentionally
                   interfered by threats, intimidation andlor coercion, with the exercise and
                   enjoyment by Claimant, prior to his death, of rights secured by the Constitution of
                   the United States, including but not limited to his right to be secure in his person
                   and free from the use of excessive force and the right of protection from bodily
                   restraint and harm.
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        Bar~rr n.     WITZEB
  LAW OFFICES OF BRIAN O, WIT2ER~ INC.


         6. Claimant's injuries are of the highest order as he died as the direct result of the injuries he
            suffered at the hands of the LASD Sheriff's deputy. Furthermore, Claimant will be
            seeking genera] damages, economic damages, and punitive damages, in an amount to be
            determined at trial.

         7. The name of the Sheriffls deputy who caused Claimant's injuries is currently unknown,
            as the identity of same has been thus far withheld by LASD.

     DATED: November 4, 2020                                The Law Offices of Brian D. Witzer



                                                            By:
                                                            Brian D. Witzer, Esq.
                                                            Kenneth J. Melrose, Es .
                                                            Attorneys for the Estate of Fred Williams ITI
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                                                   LAW OFFICES OF

                                           B~?IAN D. WTTZEA, INC.
                                             WITZER LAW BUILDING
                                                 2393 VENUS DFIVE

                                          LOS ANGELES, CgL(FORNIA 90046

  EMAIL: bfI9f1QW1IZBfIQW.00171          (310) 777-5999   FAX (310) 777-5968                    Wv/W,WIfZ0f~9W.COfT7



                                                 November 4, 2020


      Executive Office, Board of Supervisors
      Attn: Claims
      Kenneth Hahn Hall of Administration
      500 W. Temple St., Room 383
      Los Angeles, CA 90012

      Sent via Certifted Mail, Retarr~a Receipt Requested

      Dear Board of Supervisors, County of Los Angeles:

      Fred Allen Williams, Jr. and Donna Louise Williams (collectively, "Claimants") hereby make
      claim against the Los Angeles County Sheriff's Department ("LASD") and make the following
      statements in support of the claim:

           1. Claimants' post office address is 2109 East 120th Street, Los Angeles, CA 90059.

           2. Notices concerning this claim should be sent to The Law Offices of Brian D. Witzer,
              2393 Venus Drive, Los Angeles, California 90046.

           3. The occurrence giving rise to this claim took place around 5:30 P.M. on October 16, 2020
              in Willowbrook, California. Specifically, tl~e occurrence took place near Mona Park in
              the 2200 block of East 121st Street.

           4. The circumstances giving rise to this claim are as follows;

                     a. LASD deputies from the Century Sheriffs Station were patrolling Mona Park
                        when they spotted Claimant allegedly in possession of a firearm in the presence of
                        ten to fifteen other individuals congregated in a parking lot.
                     b. After an unprovoked confrontation, oue of the Sheriff's deputies got out of his
                        patrol car whereupon Claimant departed from the parking lot on foot, Claimant
                        zan down a driveway and into a backyard, with the Sheriff's deputy pursuing on
                        foot, weapon drawn, through private properties.
                     c. Claimant eventually climbed on top of a garden shed in an attempt to escape by
                        jumping over a high brick wall.
                     d. Claimant was mid-air, leaping over the brick wall, when the Sheriff's deputy
                        sprinted around the comer, gun drawn and pointed, and, failing to assess the
                        situation, immediately fired multiple shots at Claimant.
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  LAW OFFICES OF BRIAN O. WITZER~ INC.


                e. At least one bullet struck Claimant in the back. Claimant subsequently fell onto
                   tl~e ground on the other side of the fence.
                f. Claimant perished, as the direct result of his injuries, shortly thereafter.

         5. In the event the Board rejects this claim, Claimants anticipate filing, without limitation,
            the following causes of action in a Court of competent jurisdiction:

                a. Wrongful Death. The Sheriff s deputy's actions directly resulted in the death of
                   Decedent, and the deputy's actions amounted to an excessive and unjustifiable use
                   of deadly force.

                b. Negligent Infliction of Emotional Distress. The actions of the Sheriff's deputy
                   were a substantial factor in causing Claimants to suffer emotional distress,
                   including but not limited to feelings of anguish, sorrow, grief, anxiety, suffering,
                   and shock.

         6. Claimants' injuries are of the Highest order—their loved one died as the direct result of
            the injuries suffered at the hands of the LASD Sheriff's deputy. Furthermore, Claimant
            wi11 be seeking genera( damages, economic damages, and punitive damages, in an
            amount to be determined at trial.

         7, The name of the Sheriffs deputy who caused the Claimant's injuries is currently
            unknown, as the identity of same has been thus far been withheld by LASD.

     DATED: November 4, 2020                               The Law Office~Qf Brian D. Witzer



                                                           By. ~_
                                                           Brian D. Witzer, Esq.
                                                           Kenneth J. Melrose, E
                                                           Attorneys for Fred Williams III
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                                EXHIBIT B
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 39 of 53 Page ID #:39




           ~y Of IOS,~H                  COUNTY QF LOS ANGELES
          ,~ ~ ' ~ c`'                   OFFICE OF THE COUNTY COUNSEL
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          ~[~ C
                 ~
                     ~~
                               y
                                             G48 KENNETH HAHN HALL OP ADMINISTRATION
                                                      500 WEST TEMPLE STREET
                           x
            ~'~~IfOR1~~~                         LOS ANGELES, CALIFORNIA 90012-2713             •rsLcri~oNE
                                                                                                (213) 974-1913
                                                                                                FACSIMILE
 RODRIGO A. CASTRO-SILVA
                                                                                               (2l3)687-8822
     COURty COURSOI                                      January 22, 2021
                                                                                               TDD
                                                                                               (213) 633.0901




                 Brian D. Witzer, Esq.
                 LAW OFFICES OF
                 BRIAN D. WITZER, INC.
                 WITZER LAW BUILDING
                 2393 Venus Drive
                 Los Angeles, California 90046

                                   Re:   Claim Presented:                   November 4, 2020
                                         File Number:                       XX-XXXXXXX*OQ1
                                         Your Client:                       Estate of Fred Williams, TTI

                 Dear Counselor:

                        Notice is hereby given that the claim that you presented to the
                 County of Los Angeles, Board of Supervisors on November 4, 2020, was rejected
                 by operation of law on December 21, 2020. No further action will be taken on
                 this matter.

                                                            WARNING

                         Subject to certain exceptions, you have only six (6) months from the date
                 this notice was personally delivered or deposited in the mail io file a court action
                 on this claim. See Goverrunent Code Section 945.6.

                        This time limitation applies only to causes of action for which
                 Government Code Sections 900 - 915.4 require you to present a claim. Other
                 causes of action, including those arising under federal law, may have different
                 time limitations.




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          Brian D. Witzer, Esq.
          January 22, 2021
          Page 2




                 You inay seek the advice of an attorney of your choice in connection with
          this matter. If you desire to consult an attorney, you should do so immediately.

                                                   Very truly yours,

                                                   RODRIG            ASTRO-SILVA
                                                   County      ise

                                                  By
                                                                  . LOMAX
                                                       Deputy County Counsel
                                                       Litigation Monitoring Team

          MWL:ce




           1-IOA.l03124095.1
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                                                     PROOF OF S~RVIC~
      2                                             File loo. XX-XXXXXXX*001

      3~ STATE OF CALIFORNIA, County of Los Angeles:

                  I am employed in the County of Los Angeles, State of California, over the age of eighteen
           years and not a party to the tivithin action. My business address is 648 Kenneth Hahn Hall of
           Administration, 500 West Temple Street, Los Angeles, California 900 1 2-27 13.

                    That on J~nu~ry~0, 2 21, I served the attached

      7                                        NOTICE OF DENTAL L~TT~R

                   upon Interested Party(ies) by placing ❑D the original ❑ a true copy thereof enclosed in a
           sealed envelope addressed D as follows O as stated on the attached service list:

                              Brian D. Witzer, Esc.
      10                      LAW OFFICES OF
                              BRIAN D. WITZER, 1NC.
      11                      WITZER LAW BUILDING
                              2393 Venus Drive
      1z                      Los Angeles, California 90046

      X3            D         By United States mail. I enclosed t11e documents in a sealed envelope or package
                              addressed to the persons at the addresses on the attached service list (specify one):
      14
                    (1) ❑deposited the sealed envelope with the United States Postal Service, with the
      IS                   postage fully prepaid.

      16            (2) D placed the envelope for collection and mailing, following ordinary business
                          practices. I am readily familiar with this business's practice for collecting and
      17                  processing correspondence foi• mailing. On the same day that correspondence is
                          placed for collection and mailing, it is deposited in the ordinary course of business
      18                  with the United States Postal Service, in a sealed envelope with postage fiilly
                          prepaid.
      19
                              I am a resident or employed in the county where the mailing occurred. The
      20                      envelope or package was placed in the mail at Los Angeles, California:

      21          7 declare under penalty of perjury under the laws of tl~e State of California that the
           foregoing is true and correct.
      22
                    Executed on January~~, 2021, at Los Angeles, California.
      23

      24
                        ~ ~ ~c~A-~~.5                                   ~                      G~~~~
      25            (NA       E OF DECLARANT)                           (SIGN TUI2~ OF DECLARANT)

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           EIOA.103I2409G.1
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 42 of 53 Page ID #:42




         ~ o,~~osA~c                  COUNTY OF LOS ANGELES
      ~,~•~~'^'{                      OFFICE OF THE COUNTY COUNSEL
      k --- y
      +~Y~
                           ,.
                  11.4ti'f648 KENNETH HAHN FIALL Of ADMINISTRATION

       t —             x                           500 W8S'C TEMPLE STREET
        x            x
          ~~~ifoaµ~~                          LOS ANGELES, CA(.IFO RNIA 90013.2713          TELEPHONE
                                                                                            (213)974-1913

RODRIGO A. CASTRO-SiLVA                                                                     PACSIMILG
     County Counsel                                   January 22, 2021                      (213)657-8822
                                                                                            TDD
                                                                                            (213)633-0901




               Brian D. Witzer, Esq.
               LAW OFFICES OF
               BRIAN D. WITZER, INC.
               WITZER LAW BUILDING
               2393 Venus Drive
               Los Angeles, California 90046

                                Re:   Claim Presented:                     November 4, 2020
                                      File Numbel•:                        XX-XXXXXXX*003
                                      Previous File Number:                20-1163662X001
                                      Your Client:                         Donna Louise Williams
                                      Decedent:                            Fred WilliAms, TII

               Dear Counselor:

                       Notice is hereby given that the claim that you presented to the
               County of Los Angeles, Board of Supervisors on November 4, 2020, was rejected
               by operation of law on December 21, 2020. No further action will be taken on
               this matter•.

                                                         WARNING

                       Subject to certain exceptions, you have only six (6) months from the date
               this notice was personally delivered or deposited in the mail to file a court action
               on this claim. See Government Code Section 945.6.

                      This time limitation applies only to causes of action for which
               Government Code Sections 940 - 915.4 require you to present a claim. Other
               causes of action, including those arising under federal law, may have different
               time limitations.




               I~(OA.103 124 1 12.1
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 43 of 53 Page ID #:43




          Brian D. Witzer, Esq.
          January 22, 2021
          Page 2




                 You may seek the advice of an attorney of your choice in connection with
          this matter. If you desire to consult an attorney, you should do so immediately.

                                                   Very truly yours,

                                                   RODRI         CASTRO-SILVA
                                                   County        1

                                                   By
                                                          A       .L MAX
                                                        Deputy ounty Counsel
                                                        Litigation Mo~iitoring Team

          MWL:ce




          HOA.103124112.1
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 44 of 53 Page ID #:44




                                                    rRooF of s~RVIc~
                                                   File No. XX-XXXXXXX*003
      3~ ~ STATE OF CALIFORNIA, County of Los Angeles:

      4        I am employed in the County of Los Angeles, State of California, over the age of eighteen
        years and not a party to the within action. My business address is 648 Kenneth Hahn Hall of
      5 Administration, 500 West Temple Street, Los Angeles, California 90012-2713.

      G            That on Janu~r~y~, 2021, I served the attached

      7                                       NOTICE OF DENTAL L~TT~R

      8            upon Interested Party(ies) by placing ❑X the original ❑ a true copy thereof enclosed in a
           sealed envelope a3dressed D as follows O as stated on the attached service list:
      9
                             Brian D. Witzer, Esq.
     10                      LAW OFFICES OF
                             BRIAN D. WITZER, INC.
     Y1                      WITZER LAW BUILDING
                             2393 Venus Drive
     12                      Los Angeles, California 90046

     13            C1        By United States mail. I enclosed the documents in a sealed envelope or package
                             addressed to the persons at the addresses on the attached service fist (specify one):
     14
                   (1) ❑deposited the sealed envelope with the United States Postal Service, with the
     1~                   postage fully prepaid.

     16            (2) D placed the envelope for collection and mailing, following ordinary business
                         practices. I am readily familiar with this business's practice for collecting and
     17                  processing correspondence for mailing. On the same day that correspondence is
                         placed for collection and mailing, it is deposited in the ordinary course of business
     18                  with the United States Postal Service, in a sealed envelope with postage filly
                         prepaid.
     19
                             I am a resident or employed in the county where the mailing occurred. The
     20                      envelope or package was placed in the mail at Los Angeles, California:

     21           I declare under penalty of perjury under the laws of the State of California that the
           foregoing is true and correct,
     22
                   Executed on January, O , 2021, at Los Angeles, California.
     23

     24
                                ~~(.~f                                ~                     ~~~~
                                                                                TUItE OF DECLARANT)
     25             (N ME OF DECLARANT)                                (SIG

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           HOA.103124114.1
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 45 of 53 Page ID #:45




         ~,aF:aS,H                     COUNTY OI' LOS ANGELES
      ~~J~       ~ cf`                 OFFICE OF THE COUNTY COUNSEL
         ~,       y~ N
                     ~

     }              ~~                     Gd6 KENNETH HAHN HALL OF ADMINISTRATION
                             K                      S00 WEST TEMPLE STRGET
         x               x
             ~~UroxN`~                         LOS ANGELL•S, CALIrORN1A 90012-2713            TELEPHONE
                                                                                              (213)974-1913

RODRIGO A. CASTRO-SILVA                                                                       FACSIMILE
     County Counsel                                    January 22, 2021                       (213)687-8822
                                                                                              TDD
                                                                                              (213)633-090!




                T3rian D. Witzer, Esq.
                LAW OFFICES OF
                BRIAN D. WITZER, INC.
                WITZER LAW BUILDING
                2393 Venus Drive
                Los Angeles, California 90046

                                 Re:   Claim Presented:                    November 4, 2020
                                       File Number:                        XX-XXXXXXX*002
                                       Previous File Number:               20-1163G61X001
                                       Your Client:                        Fred Allen Williams, Jr.
                                       Decedent:                           Fred Wil(i~ms, III

                 Dear Counselor:

                        Notice is hereby given that the claim that you presented to the
                 County of Los Angeles, Board of Supervisors on November 4, 2020, was rejected
                 Uy operation of law on December 21, 2020. No further action will be taken on
                 this matter.

                                                         WARNING

                         Subject to certain exceptions, you have only six (6) months from the date
                 this notice was personally delivered or deposited in the mail to file a court action
                 on this claim. See Goversunent Code Section 945.6.

                         This time limitation applies only to causes of action for which
                 Government Code Sections 900 - 915.4 require you to present a claim. Other
                 causes of action, including those arising under federal law, may have different
                 time limitations.




                 I10A.103124103.1
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 46 of 53 Page ID #:46




          Brian D. Witzer, Esq,
          January 22, 2021
          Page 2




                  You may seek the advice of an attorney of your choice in connection with
          this natter. If you desire to consult an attorney, you should do so immediately.

                                                   Very truly yours,

                                                   RODRI            ASTRO-SILVA
                                                   County       s

                                                   By
                                                        MA         . LOMAX
                                                        Deputy County Counsel
                                                        Litigation Monitoring Team

          MWL:ce




          Hon.tos~za~o3.t
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 47 of 53 Page ID #:47




                                                    PROOF OF SERVICE
      2                                            File No. 20-11636G3'~002
      3I STATE OF CALIFORNIA, County of Los Angeles:

                  I am employed in the County of Los Angeles, State of California, over the age of eighteen
           years and not a party to the within action. My business address is 648 Kenneth Hahn Hall of
           Administration, 500 West Temple Street, Los Angeles, California 90012-2713.

                   That on Janua~-~~, 2021, I served the attached

      7                                       NOTICE Off' DENIAL LETTER
                   upon Interested Pai-ty(ies) by placing D the original D a true copy thereof enclosed in a
           sealed envelope addressed [D as follows ❑ as stated on the attached service list:

                             Brian D, Witzer, Esq.
      10                     LAW OFFICES OF
                             BRIAN D. WITZER, INC.
      11                     WITZER LAW BUILDING
                             2393 Venus Drive
      12                     Los Angeles, California 90046

      13           D         By United States mail. I enclosed the documents in a sealed envelope or package
                             addressed to the persons at the addresses on the attached service list (specify one):
      14
                   (1) ❑deposited the sealed envelope with the United States Postal Service, with the
      15                  postage fully prepaid.

      1G           (2) O placed the envelope for collection and mailing, following ordinary business
                         practices. I am readily familiar with this business's practice far collecting and
      17                 processing correspondence for mailing. On the same day that correspondence is
                         placed for collection and mailing, it is deposited in the ordinary course of business
      18                 with the United States Postal Service, in a sealed envelope with postage fully
                         prepaid.
      19
                             I am a resident or employed in the county where the mailing occurred, The
      20                     envelope or package vas placed in the mail at Los Angeles, California;

      21          I declare under penalty of perjury under the laws of the State of California that the
           foregoing is true and correct.
      22
                   Executed on Janu~r;~, 2021, at Los Angeles, California.
      23

      ZQ

      25
                      C~~ ~c~R~S
                   (NAME OI' DECLARANT)
                                                                        ~.
                                                                       (SIGN
                                                                                                       eS
                                                                                  UI2~ OF DECLARANT)

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           HOA.103124101.1
               Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 48 of 53 Page ID #:48
Electronically FILED by Superior Court of California, County of Los Angeles on 03/22/20211Q:2Z Af~9~~rri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                                                                                       2 STC:V1~


                 TfORNEY OR PARTY WITHOUT Al70RNEY (Name. Sfa(e Ba~num6er, and addrossJ:                                                            FOR COURT USE ONLY
                 The Law Offices of Brian D. Witzer, Inc., 2393 Venus Dr., Los Angeles, CA
                 Brian D. Witzer (SBN 123277) Eric R. Canton (SBN 311666) Kenneth J. Melrose (SBN 310113)


                       TELEPHONE NO.: ~3~ O~ 777-J~9g9         Frix ro.: (310) 777-5988
                ,arroRNevFORrname,: Donna Louise Williams and Fred Williams Jr.
               SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                     srReernooRess: 111 North Hill Street
                     MAILING ADDRESS: S2~118 aS BI~OVe
                   cn-rnr,oz~acooe: Los Angeles, CA 90012
                       BRANCH NAME: Stanley Mosk Courthouse
                 CASE NAME:
                 Williams, et al. v. County of Los Angeles, et al.
                                                                                                                  CASE NUMBER:
                    CIVIL CASE COVER SHEET                                Complex Case Designation
               0✓     Unlimited          ~      Limited
                                                                                                                    ~' '1 L,T ~~Y' '1 ~~~ ~.~
                      (Amount                   (Amount              0      Counter       0     Joinder
                                                                                                                   JUDGE:
                      demanded                  demanded is          Filed with first appearance by defendant
                      exceeds $25,000)          $25,000 or less)         (Cal. Rules of Court, rule 3.402)          DEPT:

                                                   rrems 7-ti derow musr be compered (see instructions on page z).
               1. Check one box below for the case type that best describes this case:
                  Auto Tort                                        Contract                                Prov)stonally Complex Civil Litigation
                  0 Auto (22)                                     ~ Breach of contract/warranty (O6) (Cal. Rules of Court, rules 3.400-3.403)
                  0 Uninsured motorist (46)                        0 Rule 3.740 collections (09)          0 Antitrust/Trade regulation (03)
                  Other PUPD/WD (Personal Injury/Property         ~ Olher collections (09)                0 Construction defect (10)
                  Damage/Wrongful Death) Tort                      0 Insurance coverage (18)             ~ Mass tort (40)
                         Asbestos (04)                             0 Other contract (37)                  0 Securities litigation (28)
                         Product liability (24)                    Real Property                          0 Environmenlal/Toxic tort (30)
                         Medical malpractice (45)                  O Eminent domain/Inverse              ~ Insurance coverage claims arising from the
                         Other PI/PD/WD (23)                             condemnation (14)                       above listed provisionally complex case
                                                                   0 Wrongful eviction (33)                      types (41)
                  Non-PUPD/WD (Other) Tort
                  0 Business torUunfair business practice (07) ~ Other real property (26)                  Enforcement of Judgment
                  0 Civil rights (08)                              Unlawful Detainer                      0 Enforcement of judgment (20)
                         Defamation (13)                          ~ Commercial (31)                       Miscellaneous Civil Complaint
                         Fraud (16)                               ~      Residential (32)                 Q RICO (27)
                  0 Intellectual property (19)                    ~ Drugs (38)                           ~ Other complaint (not speci(ed above) (42)
                         Professional negligence (25)              Judicial Review                        Miscellaneous Civil Petition
                         Other non-PI/PD/WD tort (35)             ~ Asset forfeiture (05)                ~ Partnership and corporate governance (21)
                  Employment                                      ~ Petition re: arbitration award (11) O Other petition (not specified above) (43)
                         Wrongful termination (36)                0 Writ of mandate (02)
                         Other employment (15)                    0 Other judicial review (39)
               2. This case U is               L✓U is not    comalex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                   factors requiring exceptional judicial management:
                    a. 0 Large number of separately represented parties                       d.~ Large number of witnesses
                    b.~ Extensive motion practice raising di~cult or novel                    e.~ Coordination with related actions pending in one or more courts
                         issues that will be time-consuming to resolve                             in other counties, stafes, or countries, or in a federal court
                    c. 0 Substantial amount of docuii~entary evidence                         f. ~ 5ubstantial postjudgment judicial supervision

               3. Remedies sought (check aU that apply): a.~✓ monetary b.~ nonmonetary; declaratory or injunctive relief                                              c. ~✓ punitive
               4. Number of causes of action (specify): See Attachment No. 1
               5. This case 0 is         ~✓ is not a class action suit.
               6. If there are any known related cases, file and serve a notice of related case. (You may use form C11a-015.)
               Date: 03-18-21                  '}   (~~
                                         ~~/~1n1 ~, W I?z~
                                                  /rvoc na valor uenaGi


                . Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except sma#t'claims cases or cases filed
                  under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                  in sanctions.
                • File this cover sheet in addition to any cover sheet required by local court rule.
                • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                  other parties to the action or proceeding.
                • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes on~.
                                                                                                                                                                                   aao 1 of 2
               Form Adopted log Mandatory Use                                                                                       Cal. Rules of Coutt, rules 2,30, 3220, 9.400-3.403, 3.740;
                 Judicial Council of California
                                                                          CIVIL CASE COVER SHEET                                            Cal. Standards o(Judicial AdminisUalion, std. 7.10
                  CM•O70 [Rev. July 1, 2007)                                                                                                                             ~m~w.couAinlo.ca.gov
Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 49 of 53 Page ID #:49



                                                                                                                                     C M-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than x25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civi/ Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, acounter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provlslonally Complex Civil Litigation (Cal.
    Auto (22j-Personal Injury/Property              Breach of ContractNVarranty (06)                Rules of Cou►t Rutes 3.400-3.403)
         Damage/Wrongful Death                           Breach of Rental/Lease                          Aniitrust/Trade Regulation (03)
     Uninsured Motorist (4fi) (if the                         Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
         motorist claim subject to                       Contract/Warranty Breach-Seller                 Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not (rand or negtigenceJ         EnvironmentallToxic Tort (30)
         instead ofAu(o)                                 Negligent Breach of ContracU                    Insurance Coverage Claims
Other PItPD/WD (Personal Injury/                             Warranty                                        (arising from provisionally complex
                                                         Other Breach of ContracUWarranty                     case (ype listed above) (41)
Property DamagelWrongful Death}
                                                    Collections (e.g., money owed, open              Enforcement of Judgment
Tort
                                                         book accounts) (09)                             Enforcement of Judgment (20)
     Asbestos (04)
                                                         Collection Case-Seiler Plaintiff                    Abstract of Judgment (Out of
         Asbestos Property Damage                                                                                  County)
         Asbestos Personal Injury/                       Other Promissory Note/Collections
                                                              Case                                           Confession of Judgment (non-
                Wrongful Death
                                                    Insurance Coverage (not provisionally                          domestic relations)
     Product Liability (not asbestos or
                                                         complex) (18)                                       Sister State Judgment
          toxic%nvironmental) (24)
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice-                           Other Coverage                                          (not unpaid faxes)
                                                     Other Contract (37)                                     Petition/Certification of Entry of
                Physicians &Surgeons
                                                         Contractual Fraud                                       Judgment on Unpaid Taxes
          Other Professional Health Care
                Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
                                                                                                                  Case
     Other PI/PDNVD (23)                         Real Property
                                                    Eminent Domain/Inverse                           Misceifaneous Civil Complaint
          Premises Liability (e.g., slip                                                                 RICO (27)
                and fall)                                Condemnation (14)
                                                    Wrongful Eviction (33)                               Other Complaint {not specified
          intentional Bodily Injury/PD/WD                                                                    above) (42)
                (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)            Declaratory Relief Only
          Intentional Infliction of                      Wrif of Possession of Real Property                 Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                        Quiet Title                                         Mechanics Lien
                Emotional Distress                       Other Real Property (nof eminent                    Other Commercial Complaint
          Otfier PIlPDNVD                                domain, landlord/tenant, or
                                                                                                                  Case (non-torUnon-complex)
Non-PIfPD/WD (Other) Tort                                foreclosure)
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer                                               (non-tort/non-complex)
        Practice (07)                               Commercial (31)                                  Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                   Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                above) (43)
           (13)                                  Judicial Review                                             Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (02)                                          Abuse
         Legal Malpractice                               Writ-Administrative Mandamus                        Election Contest
         Other Professional Malpractice                  Writ-Mandamus on Limited Court                      Petition for Name Change
              (not medical or legal)                         Case Matter                                     Petition for Relief From Late
      Other Non-PUPD/WD Tort (35)                        Writ-Other Limited Court Case                            Claim
Employment                                                   Review                                          Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                               Review of Health OKcer Order
                                                         Notice of Appeal-Labor
                                                            Commissioner Appeals
                                                                                                                                        Page 2 of 2
CM-O70 [Rev. July t, ~oo>>
                                                     CIVIL CASE COVER SHEET
    Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 50 of 53 Page ID #:50


                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANG~L~S
  COURTHOUSE ADDRESS:                                                                                        FILED
 Spring Street Courthouse                                                                        5upgr~r ~wurt gat fi.~li~omia
 312 North Spring Street, Los Angeles, CA 90012                                                    Cauriiy~ai Lv~Any~3~s
                                                                                                         03I~~12021
                   NOTICE OF CASE ASSIGNMENT                                             =:it-~~.S::i:f_-,~~*ter-~ ~.Y~~1-+_c1~'c.'.t~3tiau-1

                        UNLIMITED CIVIL CASE


  Your case is assigned for all purposes to the judicial officer indicated below.   ~ 21 STCV10906

                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED NDGE               DEPT      ROOM                    ASSIGNED JUDGE                       DEPT         ROOM
   ~/    Daniel M. Crowley                 28




    Given to the Plaintiff/Cross-ComplainandAttorney of Record   Sherri R. Carter, Executive Officer /Clerk of Court
    on 03/22/2021                                                        By R. Clifton                                        ,Deputy Clerk
               (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT —UNLIMITED CIVIL CASE
LASC Approved 05/06
    Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 51 of 53 Page ID #:51


                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to afl general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Locaf Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Jude no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, diapositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not 1 complete delineation of tl~e Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Coui-chouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

xProvisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
►•andomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT -UNLIMITED CIVIL CASE
LASC Approved 05/06
   Case 2:21-cv-03068-DMG-MAA Document 1 Filed 04/08/21 Page 52 of 53 Page ID #:52
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    , _, ~ ~~`_,`=~~'       Su p erior Court of California CountY of Los Angeles
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                                  ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                         INFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    •        Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
    •        No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Tvpes of ADR:
    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

             Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
             strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
             acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                          Mediation may be appropriate when the parties
                            • want to work out a solution but need help from a neutral person.
                            • have communication problems or strong emotions that interfere with resolution.
                          Mediation may not be appropriate when the parties
                            • want a public trial and want a judge or jury to decide the outcome.
                            • lack equal bargaining power or have a history of physical/emotional abuse.



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                                      How to arrange mediation in Los Angeles County

   Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

            a. The Civil Mediation Vendor Resource List
               If all parties agree to mediation, they may contact these organizations to request a "Resource List
               Mediation" for mediation at reduced cost or no cost (for selected cases):

                 •   ADR Services, Inc. Case Manager patricia@adrservices.com (310) 201-0010 (Ext. 261)
                 •   JAMS, Inc. Senior Case Manager mbinder@iamsadr.com (310) 309-6204
                 •   Mediation Center of Los Angeles (MCLA) Program Manager info@mediationLA.or~ (833) 476-9145
                        o Only MCLA provides mediation in person, by phone and by videoconference.

            These organizations cannot accept every case and they may decline cases at their discretion.
               Visit www.lacourt.or~/ADR.Res.List for important information and FAQs before contacting them.
               NOTE: This program does not accept family law, probate, or small claims cases.

            b. Los Angeles County Dispute Resolution Programs
                 https://wdacs.lacountv.~ov/programs/drp/
                     •   Small claims, unlawful detainers (evictions) and, at the Spring Street Courthouse, limited civil:
                            o Free, day- of-trial mediations at the courthouse. No appointment needed.
                            o Free or low-cost mediations before the day of trial.
                            o For free or low-cost Online Dispute Resolution (ODR) by phone or computer before the
                                 day of trial visit
                                 http://www.lacourt.or~/division/smallclaims/pdf/OnlineDisputeResolutionFlyer-
                                 En~Span.pdf

            c.   Mediators and ADR and Bar organizations that provide mediation may be found on the Internet.




    3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
       person who decides the outcome. In "binding' arbitration, the arbitrator's decision is final; there is no right to
       trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
       information about arbitration, visit http://www.courts.ca.gov/programs-adr.htm

    4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the trial
       date or on the day of trial. The parties and their attorneys meet with a judge or settlement officer who does not
       make a decision but assists the parties in evaluating the strengths and weaknesses of the case and in negotiating
       a settlement. For information about the Court's MSC programs for civil cases, visit
       http://www.lacourt.or~/division/civil/CI0047.aspx



Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/CI0109.aspx
For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm




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